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                         THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK



 ABBEY HOTEL ACQUISITION, LLC,
 SETAI HOTEL ACQUISITION, LLC,
 SETAI RESORT AND RESIDENCE
 CONDOMINIUM ASSOCIATION, INC, and
 SETAI VALET SERVICES, LLC                            Civil Action No.:
            Plaintiffs,

 v.

 NATIONAL SURETY CORPORATION,
           Defendant.



                                    NOTICE OF REMOVAL

       Defendant National Surety Corporation by and through their undersigned counsel, DLA

Piper LLP (US), respectfully submits as follows:

       1.       On January 28, 2021 the above-captioned plaintiffs (collectively, “Plaintiffs”)

commenced this action by filing a Complaint (a true and correct copy of which is attached hereto

as Exhibit A) in the Supreme Court of the State of New York, County of New York, Index No.

650651/2021. The Complaint alleges that the City of Miami issued executive orders related to

COVID-19 that required Plaintiffs’ businesses to close to in-person customers. Plaintiffs allege

they suffered harm as a result of the partial closure that is covered by the insurance policies issued

by National Surety.

       2.       Plaintiffs have named National Surety as the Defendant in this matter.

       3.       The document attached as Exhibits A (complaint) and B (notice of service)

constitute all process, pleadings, and orders filed in state court. No hearings or other proceeding

have taken place in this action to National Surety’s knowledge.

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       4.       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, this Notice of Removal is being

timely filed because National Surety did not receive a copy of the relevant complaint until April

19, 2021. Removal must be effectuated “within 30 days after the receipt by the defendant, through

service or otherwise, of a copy of the initial pleading.” 28 U.S.C. § 1446.

                   a. Although the Plaintiffs purportedly served the complaint on the Department

                       of Financial Services on February 5, 2021, see Ex. B, to Defendant’s

                       knowledge, the documents were never transmitted to National Surety.

       5.       Venue is proper in the Southern District of New York because the New York

County Supreme Court where the action is pending is within the jurisdictional confines of the

District. See 28 U.S.C. § 1446(a).

       6.       In filing this Notice of Removal, National Surety does not waive any defenses. No

admission of fact, law, or liability is intended by this Notice of Removal.

                                DIVERSITY OF CITIZENSHIP

       7.       There is complete diversity among between National Surety and Plaintiffs.

       8.       Plaintiffs are three limited liability companies and one corporation:

                   a. On information and belief, Abbey Hotel Acquisition, LLC is a Delaware

                       company with its business location at 300 21st Street, Miami Beach, Florida,

                       33138. On information and belief, Abbey Hotel is owned and managed by

                       Robert Spiegelman and Salem Mounayyer, both New York residents.

                   b. On information and belief, Setai Hotel Acquisition, LLC is a Florida

                       corporation with its principal address at 2001 Collins Avenue, Miami,

                       Florida, 33139. On information and belief, Setai Hotel Acquisition, LLC, is




                                                  2
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                       also owned and managed by Robert Spiegelman and Salem Mounayyer,

                       both New York residents.

                   c. On information and belief, Setai Resort and Residence Condominium

                       Association, Inc. is a Florida corporation with its principal place of business

                       located at 2301 Collins Ave, Miami Beach, Florida, 33139.

                   d. On information and belief, Setai Valet Services, LLC is a Florida company

                       with its principal place of business at 101 20th St, Miami Beach, Florida,

                       33139. It is wholly owned by Setai Hotel Acquisition LLC, supra.

       9.       Accordingly, on information and belief, every Plaintiff is a citizen of State of New

York or the State of Florida.

       10.      National Surety is a corporation organized under the laws of the State of Illinois

with its principal place of business in Illinois now and at the time the Complaint was filed.

       11.      Thus, complete diversity of citizenship exists because the Plaintiffs are citizens of

New York and Florida, and National Surety is a citizen of Illinois.

                                 AMOUNT IN CONTROVERSY

       12.      In its Complaint, the Plaintiffs assert that they are seeking damages arising from

insurance contracts. Specifically, the Complaint alleges damages under provisions providing (1)

over $158 million in coverage, (2) $10 million “for each loss” and (3) $2 million in “Civil

Authority Coverage.” See Complaint ¶¶ 43–44. The complaint alleges loss “in the amount of

$3,378,572.00” Complaint ¶ 49.

       13.      Although National Surety denies any liability to Plaintiffs, it is apparent that based

on the claims asserted in this case and the relief sought, the amount in controversy exceeds the

sum or value of $75,000.00, exclusive of interest and costs.



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       14.     Therefore, this is a civil action between citizens of different states, with complete

diversity, where the matter in controversy exceeds the sum or value of $75,000.00, exclusive of

interest and costs, of which the United States District Courts have original jurisdiction, pursuant

to 28 U.S.C. § 1332. Accordingly, this entire action may be removed to this Court pursuant to

28 U.S.C. § 1441.

       15.     Upon the filing of this Notice of Removal, National Surety shall promptly give

written notice of this removal to Plaintiffs’ attorney and shall file a copy of this Notice of Removal

with the Clerk of the Supreme Court of New York, pursuant to 28 U.S.C. § 1446(d). National

Surety demands trial by jury.

       WHEREFORE, Defendant National Surety respectfully requests that the state court

action pending in the Supreme Court of New York, County of New York be removed therefrom

in its entirety to this Court, as provided by law, and pursuant to 28 U.S.C. § 1446(d), and that the

Supreme Court of New York, County of New York proceed no further unless and until this case

is remanded.

                                                      Respectfully submitted,

Dated: April 20, 2021                                 s/ Michael D. Hynes
                                                      Michael D. Hynes

                                                      DLA PIPER LLP (US)
                                                      1251 Avenue of the Americas
                                                      27th Floor
                                                      New York, NY 10020
                                                      Tel: (212) 335-4942
                                                      Fax: (973) 520-2551
                                                      michael.hynes@dlapiper.com

                                                      Attorney for Defendant
                                                      National Surety Corp.




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was sent by First Class Mail

to the following counsel of record on this 20th day of April 2021:



                                      Dennis T. D’Antonio

                                          Federal Plaza

                                   52 Duane Street, 2nd Floor

                                     New York, NY 10007



Dated: April 20, 2021                        By:     /s/ Michael D. Hynes

                                                     Michael D. Hynes
                                                     Counsel for Defendant
                                                     National Surety Corp.




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               Exhibit A
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         20-124
         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ------------------------------------------------------------------------
         ABBEY HOTEL ACQUISITION, LLC,                                              :     Index No.:
         SETAI HOTEL ACQUISITION LLC, SETAI                                         :
         RESORT & RESIDENCE CONDOMINIUM                                             :     SUMMONS
         ASSOCIATION, INC, and SETAI                                                :
         VALET SERVICES, LLC,                                                       :     Plaintiff hereby designates
                                                                                    :     New York County as the
                                             Plaintiffs,                            :     place of trial.
                                                                                    :
                           -against-                                                :     Basis of venue is Plaintiffs’
                                                                                    :     principal place of business:
         NATIONAL SURETY CORPORATION,                                               :     1400 Broadway
                                                                                    :     New York, New York
                                             Defendant.                             :
         ------------------------------------------------------------------------



         To the above-named Defendant(s):
                 YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
         copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
         appearance, on the Plaintiff’s Attorney(s) within 20 days after the service of this summons, exclusive
         of the day of service (or within 30 days after the service is complete if this summons is not personally
         delivered to you within the State of New York); and in case of your failure to appear or answer,
         judgment will be taken against you by default for the relief demanded in the complaint.

         Dated: New York, New York
                January 27, 2021

         Defendant’s address:                                                       WEG AND MYERS, P.C.
                                                                                    Attorneys for Plaintiff
         225 W. Washington Street, Suite 1800                                       Federal Plaza
         Schaumberg, IL 60196                                                       52 Duane Street, 2nd Floor
                                                                                    New York, New York 10007
                                                                                    (212) 227-4210




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         20-124

         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ------------------------------------------------------------------------
         ABBEY HOTEL ACQUISITION, LLC,                                              :   Index No.:
         SETAI HOTEL ACQUISITION LLC, SETAI                                         :
         RESORT & RESIDENCE CONDOMINIUM                                             :   COMPLAINT
         ASSOCIATION, INC, and SETAI                                                :
         VALET SERVICES, LLC,                                                       :
                                                                                    :
                                             Plaintiffs,                            :
                                                                                    :
                           -against-                                                :
                                                                                    :
         NATIONAL SURETY CORPORATION,                                               :
                                                                                    :
                                             Defendant.                             :
         ------------------------------------------------------------------------



                  Plaintiffs ABBEY HOTEL ACQUISITION, LLC, SETAI HOTEL ACQUISITION LLC,

         SETAI RESORT & RESIDENCE CONDOMINIUM ASSOCIATION, INC, and SETAI VALET

         SERVICES, LLC, (hereinafter collectively “Plaintiffs”) by their attorneys, Weg & Myers, P.C., as

         and for their complaint against Defendant, NATIONAL SURETY CORPORATION (hereinafter

         “Defendant”) respectfully alleges as follows:



                                                       INTRODUCTION

                  1.       Plaintiff Abbey Hotel Acquisition, LLC (“Setai”), is the owner and operator of the

         world-famous Setai Hotel.

                  2.       The Setai Hotel in Miami Beach, Florida is an award- winning, international leader

         in hospitality and the hotel of choice for the sophisticated international traveler, which masterfully




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         combines the warmth of Asian hospitality with the best in personalized service and truly rarified

         comfort.

                   3.    Among its amenities, the Setai Hotel offers two distinct dining experiences and

         luxury spa services.

                   4.    These and other hotel-related amenities are offered by Setai, as well as by and

         through its affiliated and subsidiary entities, which have made significant investments therein.

                   5.    Plaintiffs procured a policy of insurance with Defendant National Surety

         Corporation (“National Surety”) which was in full force and effect when the Covid-19 pandemic

         struck the United States.

                   6.    The effect of this pandemic was to cause physical loss and damage to high volume

         commercial retail business throughout the United States.

                   7.    In response to the damage being inflicted and to protect the public from further

         exposure to infected areas, many states and municipalities issued “stay at home” orders which

         prohibited Plaintiffs from continuing their business operations.

                   8.    Due to the fact that Plaintiffs had purchased an all-encompassing all-risk policy of

         insurance from National Surety which did not contain any specific relevant exclusions, Plaintiffs

         expected that National Surety, after collecting annual premiums from Plaintiffs would be

         responsive to its insureds during their time of need.

                   9.    Unfortunately, these expectations were never met.

                   10.   National Surety’s conduct compelled Plaintiffs to commence this litigation in order

         to force National Surety to live up to its contractual obligations and indemnify Plaintiffs for their

         losses.




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                                                      THE PARTIES

                 11.     At all relevant times ABBEY HOTEL ACQUISITIONS, LLC, was and is a foreign

          limited liability company, duly organized and existing under and by virtue of the laws of Delaware,

          having its principal place of business at 1400 Broadway, New York, New York.

                 12.     At all relevant times SETAI HOTEL ACQUISITIONS LLC was and is a foreign

          limited liability company duly organized and existing under and by virtue of the laws of Delaware,

         having its principal place of business at 1400 Broadway, New York, New York.

                 13.     At all relevant times SETAI RESORT & RESIDENCE CONDOMINIUM

         ASSOCIATION, INC was and is a foreign corporation duly organized and existing under and by

         virtue of the laws of Florida, having its principal place of business at 1400 Broadway, New York,

         New York.

                 14.     At all relevant times SETAI VALET SERVICES, LLC was and is a foreign

         partnership duly organized and existing under and by virtue of the laws of Florida, having its

         principal place of business at 1400 Broadway, New York, New York.

                 15.     At all relevant times National Surety was a foreign corporation organized and

          existing under and by virtue of the laws of the State of Illinois, having its principal place of

         business at 225 W. Washington Street, Suite 1800, Chicago, Illinois.

                                  THE NOVEL CORONAVIRUS AND ITS EFFECTS

                 16.     It is beyond cavil that the world is currently experiencing a global pandemic from

          a disease caused by a novel coronavirus (specifically, SARS-COV-2) and commonly referred to

          as Covid-19.

                 17.     From as early as December 2019, Covid-19 began spreading, first in China and

          then, because the disease is highly contagious, rapidly around the globe.



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                   18.    The first confirmed case of the virus outside China was diagnosed on January 13,

          2020 in Bangkok, Thailand with the number of cases exceedingly increasing around the world.

                   19.    On January 30, 2020, the World Health Organization (“WHO”) declared the Covid-

          19 outbreak constituted a public health emergency of international concern.

                   20.    Not only is SARS-COV-2 transmitted via human-to-human, but the WHO and

         scientific studies have confirmed that the virus can remain infectious on objects or surfaces, and

         via airborne particulates.

                   21.    According to a study documented in The New England Journal of Medicine, Covid-

         19 was detectable in aerosols for up to 3 hours, up to 4 hours on copper, up to 24 hours on

         cardboard, and up to 3 days on plastic and stainless steel. 1

                   22.    Indeed, scientific studies suggest that individuals could get Covid-19 through

         indirect contact with surfaces or objects used by an infected person, regardless of whether the

         infected person was symptomatic.

                   23.    All of these materials are used and found throughout the Insureds’ premises.

                   24.    By February 25, 2020, the Center for Disease Control (“CDC”) warned Americans

         that the world was on the brink of a global pandemic, effectively dismantling any notion that

         SARS-COV-2 would not affect Americans’ lives.

                   25.    From that point forward, Covid-19 and its damaging consequences received wide

         spread media attention.

                   26.    As a result of this outbreak, the CDC began recommending that individuals stay at

         home and those who are not sick engage in preventative measures such as constant hand washing




          1
              https://www.nejm.org/doi/full/10.1056/nejmc2004973

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          and the avoidance of activities that would bring them into close proximity of people or surfaces

          where the virus resides.

                  27.      Given the nature of the Plaintiffs’ various businesses, the spread of Covid-19 virus

          led to significant economic damages.

                  28.      These damages resulted from damage to and within the Plaintiffs insured premises

          as well as from premises within the vicinity of the various insured locations.

                  29.      Such damage both existed on surfaces found within the insureds’ premises and

          surrounding premises, as well as in the breathable air circulating within the insureds’ premises and

          surrounding premises.

                  30.      In addition, human beings spread Covid-19 through the simple act of breathing in

          air that contains viral droplets. The New York Times recently reported that “[a]n infected person

          talking five minutes in a poorly ventilated space can also produce as many viral droplets as one

          infectious cough.” 2

                  31.      Moreover, studies have verified that many individuals remain asymptomatic

          despite infection by Covid-19. 3

                  32.      Consequently, while it is possible to identify certain individuals who are suffering

          from obvious symptoms of the coronavirus, absent significant medical testing, it is impossible to

          distinguish between infected and non-infected members of the general public.

                  33.      In addition to a decrease in reservations and related income as a result of the desire

          of customers to avoid contracting the virus while visiting Plaintiffs’ property, civil authority orders




          2
           https://www.nytimes.com/interactive/2020/04/14/science/coronavirus-transmission-cough-6-feet-arul.html
          3
           https://www.usnews.com/news/health-news/articles/2020-05-28/studies-detail-rates-of-asymptomatic-cases-of-
          coronavirus (observing that 42% of infected persons in Wuhan, China were asymptomatic).

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          began to be issued by Miami-Dade County and Florida state authorities, all of which require those

          properties to close their doors to the public or otherwise limit their services.

                 34.     MIAMI-DADE COUNTY EMERGENCY ORDER 09-20 (Amendment No. 1)

         provided:


                         WHEREAS, Emergency Order 09-20 directed hotels, motels, and other
                         commercial lodging establishments to stop accepting new reservations from
                         persons other than Essential Lodgers, as defined by the Emergency Order;
                         and

                         WHEREAS, Emergency Order 09-20 further reduced the occupancy
                         limitations on short-term vacation rentals and directed that new rental
                         agreements for short-term vacation rentals not be on a nightly or weekly
                         basis; and

                         ...

                         WHEREAS, Miami-Dade County continues to see an influx of travelers and
                         visitors staying in hotels and congregating without observing the social
                         distancing guidelines recommended by the CDC; and

                         ...

                         WHEREAS, reports suggest that people are traveling to Florida from areas
                         with severe COVID- 19 outbreaks to avoid lockdown orders in their area,
                         which could lead to a further spread of COVID-19; and

                         ...

                         THEREFORE, as County Mayor of Miami-Dade County, I hereby order:

                         ...

                         Commencing March 26. 2020, hotel, motels, short-term vacation rentals,
                         and other commercial lodging establishments shall not (i) accept any
                         occupants. regardless of when reservations were made. or (ii) extend
                         existing reservations for persons other than Essential Lodgers

                 35.     MIAMI-DADE COUNTY EMERGENCY ORDER 03-20 provided as

                         follows:



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                     WHEREAS, on March 1, 2020, the Governor of Florida issued Executive
                     Order Number 20-51, directing the State Health Officer and Surgeon
                     General to declare a Public Health Emergency due to the discove1y of
                     COVID-19/novel Coronavirus in Florida; and

                     WHEREAS, on March 9, 2020, the Governor of Florida issued Executive
                     Order Number 20-52, declaring a State of Emergency for the state of Florida
                     related to COVID-19/novel Coronavirus; and

                      WHEREAS, on March 12, 2020, the County Mayor declared a State of
                      Emergency for all of Miami-Dade County; and

                     WHEREAS, COVID-19/novel Coronavirus poses a health risk to Miami-
                     Dade County residents, particularly elderly residents and those who are
                     immunosuppressed or otherwise have high-risk medical conditions; and

                     WHEREAS, minimization of contact is necessary to avoid risk of COVID-
                     19 infection for the residents of the County; and

                     WHEREAS, restaurants, bars, taverns, pubs, night clubs, banquet halls,
                     cocktail lounges, cabarets, breweries, and cafeterias are potential gathering
                     places for the spread of COVID-19/novel Coronavirus; and

                     ...

                     WHEREAS, section 8B-7(2)(f) of the Code of Miami-Dade County
                     authorizes the County Mayor to order the closure of any commercial
                     establishment; and

                     ...

                     THEREFORE, as County Mayor of Miami-Dade County, I hereby order:

                      1. All restaurants, bars, taverns, pubs, night clubs, banquet halls, cocktail
                      lounges, cabarets, breweries, cafeterias, and any other alcohol and/or food
                      service business establishment with seating for more than eight people
                      within the incorporated and unincorporated areas of Miami-Dade County
                      shall close on-premises service of customers.




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                 36.     These orders were all predicated, in part, on the effect of the presence of Covid-19

                         within enclosed, highly trafficked locations.

                 37.     Pursuant to Emergency Order 30-20, Amendment No. 1, Plaintiffs’ business

         operations were permitted to re-open to the general public on June 1, 2020.



                                  PLAINTIFFS’ INSURANCE POLICY AND CLAIM

                 38.     This is an action for breach of insurance contract arising from the failure of National

          Surety to provide payment to Plaintiff for its losses resulting from the global pandemic commonly

          referred to as coronavirus or Covid-19 beginning on or about March 17, 2020.

                 39.     On or about April 27, 2019, for good and valuable consideration, Plaintiffs procured

          a policy of insurance from National Surety Corporation (the “Subject Policy”) bearing policy

          number S 61 DXJ 80996603, a renewal of a prior policy bearing policy number S 61 DXJ

          80987285.

                 40.     The Subject Policy provides coverage for, inter alia, physical loss or damage, as

          well as losses of income due to business interruption.

                 41.     The Subject Policy bears effective dates from April 27, 2019 to April 27, 2020.

                 42.     The Subject Policy was in full force and effect as of March 19, 2020 and for the

          period of time immediately thereafter.

                 43.     The Subject Policy provides coverage for all risks of physical loss or damage in the

          amount of $158,710,000.00, including but not limited to coverage for the loss of business income

          in the amount of $10,000,000.00 for each loss.

                 44.     The Subject Policy also provides, amongst other coverages $2 million in Civil

          Authority Coverage and 365 days of Extended Business and Extra Expense Coverage.

                 45.     The Subject Policy provides in relevant part:

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                       I.     Property Coverage

                              A. If a Limit of Insurance for Business Real Property or
                                 Business Personal Property is shown in the Declarations,
                                 then we will pay for direct physical loss or damage to
                                 Property Insured while at a location, including such
                                 property in the open (or in a vehicle in the open) within
                                 1,000 feet of such location, caused by or resulting from a
                                 covered cause of loss during the Policy Period.

                       ...



                       II.    Business Income and Extra Expense Coverage

                              A. If a Limit of Insurance for Business Income and Extra
                                 Expense is shown in the Declarations, then we will pay for
                                 the actual loss of business income and necessary extra
                                 expense you sustain due to the necessary suspension of
                                 your operations during the period of restoration arising
                                 from direct physical loss or damage to property at a
                                 location, or within 1,000 feet of such location, caused by
                                 or resulting from a covered cause of loss.

                41     The Subject Policy also includes Extensions of Coverage Applicable only to

         Business Income and Extra Expense, including in relevant part:

                       2. Civil Authority Coverage
                       a. We will pay for the actual loss of business income and necessary
                       extra expense you sustain due to the necessary suspension of your
                       operations caused by action of civil authority that prohibits access to
                       a location. Such prohibition of access to such location by a civil
                       authority must:
                       (1) Arise from direct physical loss or damage to property other than at
                       such location; and
                       (2) Be caused by or result from a covered cause of loss; and
                       (3) Occur within the number of miles stated in the Declarations from
                       such location.

                       ...

                       6. Extended Business Income and Extra Expense Coverage



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                       a. If a business income and extra expense loss is covered under this
                       Coverage Form, then subject to the Limit of Insurance for Business
                       Income and Extra Expense Coverage:
                       (1) We will pay for the actual loss of business income you sustain
                       during the period that begins on the date property (except finished
                       stock) is actually repaired, rebuilt, or replaced, and operations are
                       resumed and ends on the earlier of:
                       (a) The date you could restore your operations with reasonable speed,
                       to the level which would generate the business income amount that
                       would have existed if no direct physical loss or damage occurred; or
                       (b) The number of consecutive calendar days, stated in the
                       Declarations, after the date operations are resumed.
                       (2) We will pay the necessary extra expense you incur for advertising,
                       direct mail, discount coupons, or other promotional expense you incur
                       to attract customers back to your business during the period that
                       begins on the date property (except finished stock) is actually
                       repaired, rebuilt, or replaced, and operations are resumed and ends on
                       the earlier of:
                       (a) The date you could restore your operations with reasonable speed,
                       to the level which would generate the business income amount that
                       would have existed if no direct physical loss or damage occurred; or
                       (b) The number of consecutive calendar days, stated in the
                       Declarations, after the date operations are resumed.

                42     The Subject Policy also includes Extensions of Coverage Applicable to Property,

         Business Income and Extra Expense Coverages, including in relevant part:

                       1. Communicable Disease Coverage
                       a. (1) We will pay for direct physical loss or damage to Property
                       Insured caused by or resulting from a covered communicable disease
                       event at a location including the following necessary costs incurred
                       to:
                       (a) Tear out and replace any part of Property Insured in order to gain
                       access to the communicable disease;
                       (b) Repair or rebuild Property Insured which has been damaged or
                       destroyed by the communicable disease; and
                       (c) Mitigate, contain, remediate, treat, clean, detoxify, disinfect,
                       neutralize, cleanup, remove, dispose of, test for, monitor, and assess
                       the effects the communicable disease.

                       2. If the Declarations show a Limit of Insurance for Business Income and Extra
                       Expense Coverage, then we will pay for the actual loss of business income and
                       necessary extra expense you sustain due to he necessary suspension of operations
                       during the period of restoration. The suspension must be due to direct physical



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                        loss or damage to property at a location caused by or resulting from a covered
                        communicable disease event.

                43.     The Subject Policy has defined Communicable disease as any disease, bacteria,

         or virus that may be transmitted directly or indirectly from human or animal to a human.


                44.      The Subject Policy has defined Communicable disease event as an event in

         which a public health authority has ordered that a location be evacuated, decontaminated, or

         disinfected due to the outbreak of a communicable disease at such location.


                 45.    No exclusion in the Subject Policy applies to preclude coverage for the actual

          presence of Covid-19 at or away from Plaintiffs’ property, the physical loss and damage to the

          property or the business interruption losses that have and will continue to result from the physical

          loss and damage to the property.

                 46.    The Subject Policy provides coverages for multiple locations, including those

          locations identified in Exhibit “A”, as attached hereto.

                47.     As a result of the Covid-19 pandemic and the civil authority orders that flowed

         therefrom, Plaintiffs experienced a loss in revenue, amongst other losses.

                48.     In particular, beginning on or about March 20, 2020, Plaintiffs businesses were

         interrupted by various civil authority orders.

                49.     As Plaintiffs losses continue to mount and hoping to obtain some monetary relief,

         on or about July 13, 2020, Plaintiffs submitted a Sworn Statement in Partial Proof of Loss in the

         amount of $3,378,572.00.

                50.     As part of the Sworn Statement in Partial Proof of Loss, Plaintiffs provided

         financial records demonstrating the quantum of loss.




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                  51.     Pursuant to Insurance Law § 216.6, National Surety Corporation had 15 days to

          accept or reject the claim submitted by Plaintiffs in a timely manner.

                  52.     On or about July 30, 2020, Defendant sent Plaintiffs correspondence

          acknowledging receipt of Plaintiffs’ Sworn Statement in Partial Proof of Loss, and stating the

          Defendant would not accept the Sworn Statement in Partial Proof of Loss as it was “premature.”

                  53.     The Defendant’s July 30, 2020 letter further indicated that Defendant required

          Plaintiffs to reply to a May 6, 2020 request from the Defendant for generic information relating to

          the Plaintiffs’ claim.

                  54.     Notably, all information requested in the May 6, 2020 request from Defendant had

          been included in Plaintiffs’ Sworn Statement in Partial Proof of Loss submitted on or about July

          13, 2020.

                  55.     Notwithstanding the fact that Plaintiffs had previously provided all requested

          information and records, on or about September 3, 2020 Plaintiffs provided explicit responses to

          Defendant’s prior correspondence, reiterating the information from Plaintiffs’ previously

          submitted Sworn Statement in Partial Proof of Loss.

                  56.     To date, the designated adjuster for Defendant has not substantively responded to

          Plaintiffs’ claim.

                  57.     As documented by all of the information Plaintiffs had suffered over $3 million in

          damages when it filed its partial Proof of Loss.

                  58.     Defendant’s lack of timely response to Plaintiffs’ Sworn Statement in Proof of Loss

          reflects a pattern of conduct and behavior in which Defendant has inexcusably delayed payment

          on claims and improperly denied coverage relating to claims for losses caused by Covid-19 and

          the ongoing pandemic.



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                    59.   Plaintiffs have continued to suffer damages subsequent to their submission of the

          Sworn Statement in Partial Proof of Loss.

                          AS AND FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANT
                                              (Breach of Contract)

                    60.   Plaintiffs repeat and reallege paragraphs “1” through “59”, with the same force and

          effect as if set forth at length herein.

                    61.   The Subject Policy constituted a binding contract between Plaintiffs and National

          Surety Corporation.

                    62.   Plaintiffs complied with all of their obligations under the Subject Policy, including

          through timely notification of a loss and the filing of a Sworn Statement in Proof of Loss.

                    63.   As a result of the physical loss or damage suffered to the insured property as well

         as the governmental orders that flowed therefrom, Plaintiffs have suffered damages in the amount

         of

                    64.   To date, National Surety has failed to compensate Plaintiffs for any of Plaintiffs’

          losses.




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             WHEREFORE, Plaintiff demands judgment against National Surety Corporation as follows:

                (a)    On the First Cause of Action, a money judgment against National Surety

                       Corporation in the combined amount of at least $3,764,727, together with such

                       additional and subsequent damages as may be proven at trial; and

                (b)    Reasonable fees and costs and such other and further relief as to which this Court

                       deems just and proper.


          Dated: New York, New York
                 January 27, 2021


                                                                   Yours, etc.,


                                                                   WEG AND MYERS, P.C.
                                                                   Attorneys for Plaintiff




                                                            By:    _/s/ /Dennis T. D’Antonio/______
                                                                     Dennis T. D’Antonio, Esq.
                                                            Federal Plaza
                                                            52 Duane Street, 2nd Floor
                                                            New York, New York 10007
                                                            (212) 227-4210




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         Index No.       Year
         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK

          ABBEY HOTEL ACQUISITION, LLC, SETAI HOTEL ACQUISITION LLC,
          SETAI RESORT & RESIDENCE CONDOMINIUM ASSOCIATION, INC, and
          SETAI VALET SERVICES, LLC,
                                                                  Plaintiffs,
                      -against-

          NATIONAL SURETY CORPORATION.,

                                                                  Defendants.


                                                           SUMMONS AND COMPLAINT


                                                                Weg and Myers, P.C.
                                                                      Attorneys for Plaintiff
                                                                          Federal Plaza
                                                                         52 Duane Street
                                                                      New York, N.Y. 10007
                                                                         (212) 227-4210

          Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of New York State, certifies that, upon
          information and belief and reasonable inquiry, the contentions contained in the annexed document are not frivolous.

          Dated: January 27, 2021                                            Signature /s/ Dennis T. D’Antonio

                                                                             Print Signer’s Name Dennis T. D’Antonio, Esq.

          Service of a copy of the within

          Dated:
                                                                             Attorney(s) for

          PLEASE TAKE NOTICE

          Notice of             that the within is a (certified true copy of a
          Entry                 entered in the office of the clerk of the within named Court on


          Notice of             that an Order of which the within is a true copy will be presented for
          Settlement            settlement to the Hon.                                               one of the judges
                                of the within named Court, at
                                on                                                        , at                           M.

          Dated:
                                                                                         Weg and Myers, P.C.
                                                                                         Attorneys for
                                                                                         Federal Plaza
                                                                                         52 Duane Street
                                                                                         New York, NY 10007
          TO
          Attorney(s) for




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               Exhibit B
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           20-124
           SUPREME                  COURT              OF THE             STATE            OF     NEW YORK
           COUNTY                 OF KINGS
           ----------------------------------------------------------                                                           ------------------X
           ABBEY              HOTEL             ACQUISITION,                       LLC,
                                                                                                                                                                                      Index        No.:     650651/21
           SETAI          HOTEL             ACQUISITION                          LLC,      SETAI
           RESORT                 & RESIDENCE                      CONDOMINIUM                                                           :

           ASSOCIATION,                         INC,       and      SETAI                                                                :                                                    .
                                                                                                                                                                                      AFFIDAVIT                  OF
           VALET              SERVICES,                 LLC
                                                                                                                                                                                      SERVICE               UPON          THE
                                                                                                       Plaintiffs,
                                                                                                                                                                                      SUPERINTENDENT
                                         -against-                                                                                                                                    OF      FINANCIAL
                                                                                                                                                                                      SERVICES


           NATIONAL                    SURETY              CORPORATION,


                                                                                                       Defendant.
           ___________ ______________________ _____________________ _______                                                                         -------X


           STATE           OF NEW               YORK:              COUNTY               OF NEW                YORK:               SS.:


           JOEL       MULLINS,                  being       duly        sworn,      deposes            and     says:


           deponent           is not      a party         to this        action,        is over        18 years            of     age        and     resides           in   State        of       NEW       YORK,


           County        of       QUEENS.



                         On FEBRUARY                         5™,        2021       deponent            served        the        within         SUMMONS                       AND              COMPLAINT


          AND         NOTICE                OF ELECTRONIC                                FILING,              together              with           a check         in       the       sum         of   $40.00        on


          NATIONAL                       SURETY                    CORPORATION.                                via         the        NY            STATE                   DEPARTMENT                           OF


          FINANCIAL                    SERVICES                    at   ONE        COMMERCE                          PLAZA,                  SUITE             2300,        ALBANY,                    NY   12257,


          ATTN:           CORPORATE                         AFFAIRS,                by     Regular            Mail        and       depositing             a true           copy        of    same        enclosed


          in   a post-paid              properly           addressed             wrapper          in     an    official            depository              under            the       exclusive           care   and



          custody         of the       United          States      Postal        Service        within         the     State        of        e       York




                                                                                                                                         JOEL          MULLINS


          S                   T     BEFORE               ME        THIS
                                    OF F IBRUARY,                          2021


                                                 7                          L LAFORTUNE
                                                 hv          PUBLIC, STATE OF NEW YORK                                                                                            ;
          NOTAR                   UB       C              RegistrationNo.01LA6362844
                                                            Qualified in Kings County
                                                          Commission Expires 08/07/2021



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